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               13                                UNITED STATES DISTRICT COURT
               14                             NORTHERN DISTRICT OF CALIFORNIA
               15                                     SAN FRANCISCO DIVISION
               16      DZ RESERVE and CAIN MAXWELL (d/b/a Case No. 3:18-CV-04978 JD
                       MAX MARTIALIS), individually and on
               17      behalf of all others similarly situated, META PLATFORMS, INC.’S OPPOSITION
               18                                               TO PLAINTIFFS’ MOTION TO EXCLUDE IN
                                                                PART META’S EXPERT CATHERINE
                                       Plaintiffs,
               19                                               TUCKER, PH.D.
                               v.
               20                                               Date: June 23, 2022
                       META PLATFORMS, INC.,                    Time: 10:00 a.m.
               21
                                                                Court: Courtroom 11, 19th Floor
               22                                               Hon. James Donato
                                       Defendant.
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                                                                                META’S OPP. TO PLAINTIFFS’
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                   1   I.       INTRODUCTION

                   2            Dr. Catherine Tucker is a leading expert on the economics of digital advertising. Meta

                   3   retained her to evaluate the opinions of Plaintiffs’ experts, who have tried to show that “inflated”

                   4   Potential Reach estimates caused advertisers to set higher budgets and pay higher prices for their

                   5   ads. Tucker debunked this theory, and now Plaintiffs want to prevent her from explaining to a jury

                   6   why their evidence is flawed and based on a misunderstanding of the digital advertising industry.

                   7            Plaintiffs do not challenge Tucker’s qualifications as an expert in the economics of digital

                   8   advertising or the majority of her rebuttal opinions, including her opinion that DZ Reserve’s and

                   9   Cain Maxwell’s ad data shows no connection between their budgets and the size of their Potential

               10      Reach estimates. Instead, Plaintiffs (1) attempt to miscast her data-driven analysis of Plaintiffs’

               11      advertising behavior as some sort of “credibility” or “state of mind” opinion. But the fact that

               12      Plaintiffs’ own ad data is inconsistent with their self-serving reliance testimony does not transform

               13      Tucker’s analysis of that data into credibility or state of mind testimony. Plaintiffs then seek to

               14      prevent Tucker from critiquing (2) their experts’ failure to consider in their damages models the

               15      value and benefits Plaintiffs receive in purchasing ads, (3) the flawed assumptions about Meta

               16      advertisers in Plaintiffs’ expert’s auction simulation, and (4) the flaws in Plaintiffs’ expert’s

               17      conjoint survey. Dkt. 370 (“Mot.”) at 4-10. Each critique is baseless, and Plaintiffs’ motion—

               18      which largely focuses on rehabilitating their own experts—should be denied.

               19               First, Tucker does not opine on Plaintiffs’ credibility or state of mind. Her opinion is that

               20      DZ Reserve’s and Maxwell’s advertising behavior—as evidenced by their campaign data and

               21      contemporaneous documents—shows no correlation between their ad budgets and the size of

               22      Potential Reach estimates. Plaintiffs may disagree with Tucker’s conclusions, but they do not

               23      dispute the underlying evidence or fault her analytical methods. Instead, they object to Tucker’s

               24      statements that her conclusions are “[c]ontrary to Plaintiffs’ testimony” and are evidence that

               25      Potential Reach was “unimportant to Plaintiffs,” claiming such testimony impermissibly opines on

               26      Plaintiffs’ credibility and state of mind. Mot. at 1. But it does not. If experts could be excluded
               27      simply because their opinions were inconsistent with or undermined a party’s testimony, nearly

               28      every expert would be excluded. Tucker is permitted to explain her analysis and identify where
                                                                                                 META’S OPP. TO PLAINTIFFS’
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                   1   her opinions diverge from a witness’s testimony. That is not “state of mind” or “credibility”

                   2   testimony.

                   3          Second, Plaintiffs’ challenge to the relevance of Tucker’s opinion about the value and

                   4   benefits that advertisers received from their Meta ads is meritless. Plaintiffs argue that this case is

                   5   not about “clicks and impressions,” id. at 7, and so their experts purportedly had no need to

                   6   consider the value and benefits of clicks and impressions. But that is just not true. Plaintiffs’

                   7   theory of damages is that inflated Potential Reach estimates caused advertisers to increase their

                   8   budgets, and in turn increased the prices advertisers paid for clicks and impressions through Meta’s

                   9   ad auction. Clicks and impressions are not “post-purchase benefits,” as Plaintiffs suggest, but part

               10      of the ad purchase—advertisers only pay for the clicks and/or impressions their ads receive. And

               11      how much advertisers are willing to pay for ad clicks and impressions is not only relevant to

               12      Plaintiffs’ theory of damages, but necessarily depends on the value of those clicks and impressions.

               13             Third, Plaintiffs argue that Tucker cannot critique Dr. Timothy Roughgarden’s auction

               14      simulation because she supposedly does not have sufficient expertise in how an auction simulation

               15      actually works. Setting aside that Tucker does have significant auction experience, including with

               16      Meta’s auction, Plaintiffs’ complaint is entirely misplaced for the simple reason that Tucker does

               17      not opine about how Meta’s auction system works. Her opinion is that Roughgarden’s simulation

               18      takes as inputs unsupported assumptions about how digital advertising works—namely, the

               19      number of advertisers that would be affected by changes in Potential Reach and key differences

               20      across advertisers—and therefore is unreliable.         And Plaintiffs do not dispute the digital

               21      advertising expertise that grounds Tucker’s actual opinion.

               22             Finally, Plaintiffs’ challenge to Tucker’s qualifications to opine on flaws in Dr. Greg

               23      Allenby’s conjoint survey fares no better. Tucker has nearly two decades of qualifications in

               24      digital advertising (which Plaintiffs do not challenge), and Plaintiffs concede that she teaches

               25      conjoint analysis at the Massachusetts Institute of Technology (“MIT”), an amply sufficient basis

               26      for her to explain why Allenby’s survey fails to accurately reflect how advertisers set their budgets.
               27             Plaintiffs’ effort to exclude Tucker’s testimony in part should be denied in its entirety.

               28
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                   1   II.     BACKGROUND

                   2           A.     Tucker Is A Leading Expert On The Economics Of Digital Advertising
                   3           Tucker is a leading expert on the economics of digital advertising. She holds a Ph.D. in

                   4   economics from Stanford University, and she is currently the Sloan Distinguished Professor of

                   5   Marketing at MIT’s Sloan School of Management and the Director of the Economics of

                   6   Digitization at the National Bureau of Economics Research. Dkt. 370-2 (“Tucker Rpt.”) ¶ 1 &

                   7   App. A. She has published dozens of articles on the digital economy, including how digital

                   8   technology has transformed the advertising industry, and has presented her research to the U.S.

                   9   Congress, the Federal Trade Commission, the International Monetary Fund, the Federal

               10      Communications Commission, and the Organization for Economic Cooperation and Development.

               11      Id. Tucker teaches and supervises conjoint analyses as part of her work at MIT, and has published

               12      research on digital ad auctions. See id.; Dkt. 370-3 (“Tucker Dep.”) at 77:7-88:24.1

               13              B.     Tucker Rebuts Plaintiffs’ Experts
               14              Based on her extensive digital advertising expertise gained over more than fifteen years,

               15      Tucker concluded that, contrary to Plaintiffs’ experts’ assertions, “most Facebook advertisers

               16      would be unaffected by any alleged inaccuracies in Potential Reach estimates.” Tucker Rpt. ¶ 44.

               17      Tucker found that Plaintiffs’ experts wrongly assume advertisers’ budgets would be affected by

               18      alleged inflation in Potential Reach estimates, and cannot be used to reliably calculate damages.

               19              To reach these opinions, Tucker traced the evolution of digital advertising and explained

               20      how improvements in ad delivery and tracking reduced the importance of audience size estimates

               21      like Potential Reach because advertisers receive better information about actual results in the

               22      digital era and make decisions based on actual and estimated results. Id. ¶¶ 45-55. Tucker

               23      analyzed Meta advertising specifically and found that most advertisers would not set their ad

               24      budgets based on Potential Reach estimates, based on Meta’s disclosures about Potential Reach,

               25

               26      1
                         Plaintiffs filed an administrative motion to consider whether Tucker’s deposition transcript and
               27      portions of their motion that quote it should be sealed. See Dkt. 369. Pursuant to Paragraph 31 of
                       the Court’s Standing Order and the Court’s January 8, 2021 Order (Dkt. 235), the parties will meet
               28      and confer and file a revised, comprehensive motion to seal and joint declaration setting out the
                       parties’ positions on sealing for all summary judgment and Daubert submissions.
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                   1   the role of other estimates Meta provides advertisers (particularly Estimated Daily Results), other

                   2   available tools for tracking results, the characteristics of Meta’s advertisers, and advertisers’ actual

                   3   budget-setting practices. Id. ¶¶ 63-75, 83-85. Her key opinions that bear on this motion are:

                   4          Plaintiffs’ Advertising Behavior Indicates They Set Budgets Based On Performance,

                   5   Not Potential Reach Estimates. Tucker found Plaintiffs’ advertising behavior and data consistent

                   6   with an advertising strategy focused on performance, not reach: Plaintiffs set performance

                   7   objectives (traffic, conversions); modified their campaigns based on results; and set small budgets

                   8   relative to Potential Reach estimates. Id. ¶¶ 87-106. Tucker looked for any relationship between

                   9   Plaintiffs’ Potential Reach estimates and their budgets and found that, on average, Plaintiffs set

               10      smaller budgets for campaigns with larger Potential Reach estimates. Id. at Exs. 20-21, 30-31.

               11             Plaintiffs’ Experts Improperly Ignore The Value And Benefits Advertisers Received.

               12      Tucker found that advertisers in the class received many results from their ads, including trillions

               13      of impressions and hundreds of billions of clicks, and that the majority of class members were

               14      repeat advertisers, which suggested that they believed they were getting value from their ad

               15      impressions and clicks. Id. ¶¶ 138-39. Tucker found that Plaintiffs’ experts ignored these results,

               16      which should have been considered in Plaintiffs’ damages models. Id. ¶¶ 135-39.

               17             Plaintiffs’ Experts Ignore Essential Differences Among Meta Advertisers. Tucker

               18      found that Roughgarden and Allenby failed to take into account differences in Meta advertisers.

               19             Roughgarden: Tucker concluded that Roughgarden’s auction simulation was overly

               20      simplified and ignored key differences in advertisers—and therefore was unreliable—for two

               21      reasons: (1) it was based on unrealistic assumptions about the number of advertisers that would

               22      change their budgets if Meta no longer provided Potential Reach, id. ¶¶ 125-29; and (2) it was

               23      overly simplified and ignored key differences across advertisers, such as ad objectives,

               24      optimization goals, targeting selection, bid constraints, ad quality, and ad placements—which she

               25      found to have a significant impact on Roughgarden’s outcomes. Id. ¶¶ 170-75.

               26             Allenby: Based on her advertising expertise, Tucker concluded that Allenby’s survey was
               27      flawed and unreliable for assessing real world behavior because it did not reflect the real world

               28      environment in which advertisers set their budgets, including because (a) it only allowed
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                   1   respondents to set their ad budgets once, whereas in the real world advertisers continuously adjust

                   2   their budget based on real-time results, id. ¶¶ 110-11; (b) it omitted information like expected

                   3   return on investment that advertisers actually consider when setting their budget, id. ¶¶ 112-14;

                   4   (c) it did not give respondents the option of using Potential Reach to hone their targeting decisions,

                   5   which is how advertisers typically use it, id. ¶ 112; and (d) it forced advertisers to consider

                   6   information they would not likely consider in the real world, such as the Potential Reach for the

                   7   entire United States, id. ¶ 113. Tucker also found that Allenby’s survey wrongly assumed that all

                   8   advertisers make advertising decisions in the same way, but in the real world “many advertisers

                   9   would focus on important individualized information not provided in the survey,” such as past

               10      campaign performance and real-time results. Id. ¶ 168.2

               11      III.    LEGAL STANDARD

               12              The testimony of a witness “who is qualified as an expert by knowledge, skill, experience,

               13      training, or education” is admissible where their “(a) scientific, technical, or other specialized

               14      knowledge will assist the trier of fact to understand the evidence or to determine a fact in issue;

               15      (b) the testimony is based upon sufficient facts or data; (c) the testimony is the product of reliable

               16      principles and methods; and (d) the witness has applied the principles and methods reliably to the

               17      facts of the case.” Fed. R. Evid. 702. The requirement that an expert be qualified is a liberal one,

               18      because Rule 702 “contemplates a broad conception of expert qualifications.” Hangarter v.

               19      Provident Life & Acc. Ins. Co., 373 F.3d 998, 1018 (9th Cir. 2004). “Expert opinion testimony is

               20      relevant if the knowledge underlying it has a valid connection to the pertinent inquiry.” Primiano

               21      v. Cook, 598 F.3d 558, 565 (9th Cir. 2010). The reliability requirements mean the proffered expert

               22      opinions must have “a reliable basis in the knowledge and experience of the relevant discipline.”

               23      Id. “Challenges that go to the weight of the evidence are within the province of a fact finder, not

               24      a trial court judge.” City of Pomona v. SQM N. Am. Corp., 750 F.3d 1036, 1044 (9th Cir. 2014).

               25      IV.     ARGUMENT

               26              Plaintiffs’ motion relies on repeated mischaracterizations of Tucker’s opinions and the
               27      2
                        Tucker also disputed Allenby’s justification for rejecting his original analysis (which found that
               28      advertisers did not set budgets based on Potential Reach) on the basis that Meta and Google are
                       not “close substitutes,” but Plaintiffs do not appear to challenge that opinion. Id. ¶¶ 109-17.
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                   1   requirements of Rule 702. It should be denied because (1) Tucker’s opinions about DZ Reserve

                   2   and Maxwell concern their advertising behavior, not their credibility or state of mind; (2) Tucker’s

                   3   opinion about the value and benefits advertisers receive from Meta ads is relevant to multiple

                   4   issues; (3) Tucker is well-qualified to opine on faulty assumptions about Meta’s advertisers in

                   5   Roughgarden’s auction simulation; and (4) Tucker is also well-qualified to opine that Allenby’s

                   6   conjoint survey does not reflect how advertisers make budget decisions in the real world.

                   7
                              A.      Tucker’s Opinions About DZ Reserve And Maxwell Concern Their
                   8                  Advertising Behavior, Not Their Credibility Or State Of Mind
                   9          Plaintiffs argue that Tucker should be excluded from testifying about DZ Reserve’s and

               10      Maxwell’s “credibility” and “state of mind” (Mot. at 4-5), but Tucker does not testify about either;

               11      Plaintiffs misstate Tucker’s opinions and the law.

               12             Tucker’s opinions are about Plaintiffs’ advertising behavior: she analyzed how advertisers

               13      buy ads and whether they use Potential Reach, and she determined that advertisers are typically

               14      (1) focused on achieving results and (2) unlikely to use Potential Reach to set their ad budgets

               15      because Potential Reach does not tell advertisers about their expected results (and is not affected

               16      by changes in budget in any event). See supra Section II.B. Within this framework, Tucker

               17      analyzed DZ Reserve’s and Maxwell’s ad campaign data, contemporaneous statements in

               18      documents, and other documentary evidence, and found that their behavior was consistent with

               19      advertisers that are focused on achieving results and set budgets accordingly. For example:

               20                 Tucker analyzed the budgets that DZ Reserve and Maxwell set and found that their
                                   budgets were not positively correlated with their Potential Reach estimates. (In other
               21                  words, Plaintiffs did not set higher budgets for campaigns with higher reach estimates.
                                   If anything, they did the opposite.) Tucker Rpt. at Exs. 20-21, 30-31;
               22
                                  Tucker found that all of Maxwell’s campaigns had a “link clicks” objective and over
               23                  95% of DZ Reserve’s campaigns had a “website conversion” objective, which “is a
                                   strong indication of what they consider important for their ad performance”—namely,
               24                  maximizing clicks and conversions. Id. ¶¶ 56, 60, 95, 102, Exs. 16 & 26;

               25                 Tucker examined documentary evidence containing statements describing Plaintiffs’
                                   goals and advertising strategies, including chats in which Dan Ziernicki stated “all I
               26                  care about is CPP” (cost-per-purchase), meaning that when advertising on Meta, he
                                   cared about achieving an optimal advertising cost per sale of his products. Id. ¶ 91;
               27
                                  Tucker reviewed the materials for the Amazing.com course Maxwell followed, and
               28                  found that Maxwell’s behavior was consistent with Amazing’s instructions, which do
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                   1               not mention Potential Reach. Id. ¶ 101.

                   2            The fact that Plaintiffs’ advertising data is inconsistent with their own allegations does not

                   3   transform Tucker’s opinions about that data into credibility opinions. There is “no rule barring

                   4   expert testimony because it might indirectly impeach the credibility of an opposing party’s

                   5   testimony.”     Reed v. Lieurance, 863 F.3d 1196, 1209 (9th Cir. 2017); see also Natural-

                   6   Immunogenics Corp. v. Newport Trial Grp., 2019 WL 3099725, at *7 (C.D. Cal. Apr. 15, 2019)

                   7   (permitting expert testimony regarding whether a party’s conduct conformed to industry standards,

                   8   which “the jury can use . . . to aid it in making its own [credibility] determinations”). 3 An expert

                   9   can “testify about whether [a party’s] actions were consistent with (or inconsistent with) what is

               10      discussed in the documentary evidence,” so long as the expert does not “ascribe an intent or

               11      motivation” to a particular person. Munoz v. PHH Mortgage Corp., 2022 WL 138670, at *4-5

               12      (E.D. Cal. Jan. 14, 2022) (striking testimony that sought to “ascribe an intent, motivation, agenda”

               13      to party’s actions, but not testimony “discussing documentary evidence and opining whether [the

               14      party] acted consistently”); see also Alcantar v. Foulk, 2016 WL 3001242, at *12 n.17 (E.D. Cal.

               15      May 25, 2016) (“There is an important difference between an expert’s testimony that a specific

               16      individual possessed a specific intent, and testimony that gives meaning to [a party’s] actions.”).

               17               Tucker’s opinions fit squarely within the scope of permissible expert testimony. Tucker

               18      “give[s] meaning to [Plaintiffs’] actions,” Alcantar, 2016 WL 3001242, at *12, by explaining “the

               19      considerations on which [advertisers] generally rely” when setting their budget, Oracle Am., Inc.

               20      v. Hewlett Packard Enter. Co., 2018 WL 6511146, at *3 (N.D. Cal. Dec. 11, 2018), and describing

               21      Plaintiffs’ advertising behavior and whether it is consistent with certain types of advertisers. See,

               22      e.g., Tucker Rpt. ¶ 90 (describing DZ Reserve’s ad objectives and optimization and explaining the

               23

               24
                       3
                         “Expert testimony is not inadmissible simply because it contradicts [a fact witness’s] testimony.”
                       Greenwell v. Boatwright, 184 F.3d 492, 497 (6th Cir. 1999) (permitting expert testimony that
               25      eyewitnesses’ testimony was contradictory); see also Tucker v. Cnty. of Riverside, Cal., 2018 WL
                       6017036, at *12 (C.D. Cal. May 23, 2018) (citing Greenwell). The case law Plaintiffs cite is
               26      consistent with this rule and holds only that experts cannot expressly comment on the truth or
                       falsity of witness statements—which Tucker has not done here. See U.S. v. Filler, 210 F.3d 386,
               27      at *2 (9th Cir. 2000) (allowing testimony about whether a party’s statements were consistent with
                       an illness, but not that the statements were “false”); Nimely v. City of New York, 414 F.3d 381, 398
               28      (2d Cir. 2005) (testimony that police officers were “telling the truth as they perceived it” should
                       have been excluded as opining on the officers’ credibility).
                                                                                                 META’S OPP. TO PLAINTIFFS’
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                   1   implications of those selections); ¶ 130 (same for Maxwell’s testimony about using discount codes

                   2   for ads). But she does not “baldly assert” that Plaintiffs did or did not factor Potential Reach into

                   3   their decision-making. Alcantar, 2016 WL 3001242, at *12 n.17. Plaintiffs nitpick Tucker’s word

                   4   choices, arguing that her report “reads . . . more like an attorney’s cross-examination or closing

                   5   argument” because she describes “claims” Plaintiffs made in their depositions, Mot. at 4, but

                   6   Plaintiffs ignore the context of these statements; Tucker relied on Plaintiffs’ own testimony and

                   7   noted where their ad data and contemporaneous documents were consistent with or diverge from

                   8   their testimony, but she does not opine on their credibility or state of mind.4 See Tucker Rpt. ¶ 90

                   9   (stating that Ziernicki’s testimony was “[c]onsistent with” certain evidence); ¶ 96 (describing DZ

               10      Reserve’s “contemporaneous communications” and what they show about its advertising strategy);

               11      ¶ 102 (describing Maxwell’s testimony about his “goal” for Meta advertising).5 Plaintiffs do not

               12      dispute the evidence supporting her opinions or fault her analytical methods. A jury may well

               13      agree with Tucker’s analysis rather than Plaintiffs’ self-serving assertions, but that is not because

               14      Tucker offers a conclusion on credibility. Her testimony should therefore not be excluded, and

               15      the jury should be allowed to decide for itself who to believe. See, e.g., Apple, Inc. v. Samsung

               16      Elecs. Co., 2012 WL 2571332, at *8 (N.D. Cal. June 30, 2012) (holding that disagreements over

               17      expert’s conclusions is not a basis for exclusion).

               18               B.     Tucker’s Analysis Of The Value And Benefits Advertisers Receive From
                                       Meta Ad Campaigns Is Relevant To Plaintiffs’ Claims
               19
                                Plaintiffs challenge Tucker’s opinions that their experts improperly ignored the value and
               20
                       benefits advertisers received from their Meta ads, arguing that the value advertisers obtain from
               21

               22
                       4
                         To be clear, Tucker will not offer an opinion on Plaintiffs’ credibility or state of mind.
               23      5
                         The case law Plaintiffs cite where experts expressly opine on a party’s intent or state of mind has
                       no application here, given that Tucker’s opinions are about Plaintiffs’ advertising behavior. See
               24      In re Twitter, Inc. Sec. Litig., 2020 WL 9073168, at *6 (N.D. Cal. Apr. 20, 2020) (testimony
                       regarding “how investors would have understood Twitter’s public comments” is permissible, but
               25      testimony that metrics were “not a focus of management’s attention” was not); Oracle Am., Inc,
                       2018 WL 6511146, at *3 (permitting expert testimony on “the considerations on which persons in
               26      the field generally rely,” but excluding testimony about why a person “took . . . a particular action
                       or made . . . a particular decision”); Siring v. Oregon State Bd. of Higher Ed. ex rel. E. Oregon
               27      Univ., 927 F. Supp. 2d 1069, 1077–78 (D. Or. June 11, 2013) (excluding opinion regarding
                       “unexpressed reasons” for terminating plaintiff or what defendant “may have been thinking.”).
               28
                                                                                                META’S OPP. TO PLAINTIFFS’
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                   1   clicks and impressions—which Plaintiffs inaccurately call “post-purchase benefits”—is not

                   2   relevant to this case. Plaintiffs’ relevance argument is a thinly disguised attempt to hide the fact

                   3   that Plaintiffs received excellent value from their Meta ads, which then informed their purchase

                   4   decisions and budgets, and Plaintiffs’ failure to account for that value in their damages models

                   5   improperly gives them a windfall.6

                   6            First, Plaintiffs misleadingly argue this case is not about ad clicks and impressions, see

                   7   Mot. at 7, but that fundamentally misstates how ads are purchased. Advertisers only pay for the

                   8   clicks or impressions their ads receive, Dkt. 375-20, so Plaintiffs’ damages theory is that

                   9   advertisers overpaid (or paid a “price premium”) for clicks and impressions as a result of inflation

               10      in Potential Reach estimates. Plaintiffs cannot divorce the act of purchasing an ad from the clicks

               11      or impressions that were purchased; clicks or impressions are the very things advertisers allegedly

               12      overpaid for, not a subsequent benefit. Plaintiffs want to have their cake and eat it too—their

               13      experts would award damages to any advertiser that purchased an ad without considering the value

               14      of the clicks or impressions that were purchased, and whether Plaintiffs and other advertisers

               15      would have purchased the same number of clicks or impressions or were even damaged at all.

               16               Second, Tucker’s analysis of the value received by advertisers in purchasing ad clicks and

               17      impressions is relevant to both damages and reliance.7 Tucker analyzed ad transaction records and

               18      found that, in exchange for their payments, advertisers received trillions of impressions and

               19      hundreds of billions of clicks, and that most class members were repeat purchasers of Meta ads.

               20      Tucker Rpt. ¶¶ 138-39.8 Nevertheless, Tucker found that “Plaintiffs’ experts ignore those results

               21      and have failed to consider the value of Facebook ads to advertisers in their damages analyses,”

               22      and instead “simply apply a price premium” to every dollar advertisers spent on ads and “claim

               23      that as damages.” Id. ¶¶ 135, 138. Tucker also found that Plaintiffs’ damages calculations were

               24
                       6
                         Plaintiffs do not argue that Tucker is not qualified to offer this opinion or that her opinion does
               25      not comply with the requirements of Rule 702(b)-(d).
                       7
                         Plaintiffs argue that Tucker’s opinion is “irrelevant to damages,” Mot. at 6, but do not challenge
               26      its relevance to other issues, such as reliance and materiality.
               27
                       8
                         Plaintiffs’ suggestion that Tucker “equivocated” on the value of Potential Reach, Mot. at 1 n.2,
                       misstates her testimony, which was that Potential Reach estimates are “irrelevant for [] budget-
               28      making decisions for most advertisers,” even though Potential Reach estimates can be used in other
                       ways to help advertisers unlock the value of Meta targeting. Tucker Dep. at 51:15-17.
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                   1   flawed because they relied on Allenby’s conjoint survey, which “ignores the actual impressions,

                   2   clicks, and/or conversions that respondents received,” and Roughgarden’s auction simulation,

                   3   which “fail[s] to consider the amount or value of the impressions and clicks that advertisers

                   4   receive.” Id. ¶ 136.

                   5            Plaintiffs argue that Tucker’s opinion about flaws in their experts’ analyses is not relevant

                   6   because “[t]he calculation [of damages] need not account for benefits received after purchase.”

                   7   Mot. at 7 (citation omitted). But as already noted, the impressions and clicks that ads receive are

                   8   not “post-purchase benefits” as Plaintiffs claim, Mot. at 6—they are how advertisers pay for ads.

                   9   Dkt. 375-20. Advertisers do not buy an ad and then subsequently receive clicks and impressions

               10      and evaluate whether those post-purchase clicks and impressions make that ad purchase valuable;

               11      to the contrary, advertisers purchase clicks and impressions, and receive value instantly. The

               12      question of what advertisers would have paid for clicks and impressions at the time of purchase is

               13      the core damages issue in the case—and one which necessarily must take into account advertisers’

               14      valuation of each click and impression. Tucker’s analysis of the value and benefits that Plaintiffs

               15      and advertisers received from their Meta ads is relevant because “it has a valid connection” to the

               16      valuation of each click and impression, and whether advertisers were harmed. Primiano, 598 F.3d

               17      at 565; see also Stilwell v. Smith & Nephew, Inc., 482 F.3d 1187, 1192 (9th Cir. 2007) (in assessing

               18      “helpfulness,” courts look to “determine whether there is a link between the expert’s testimony

               19      and the matter to be proved.” (citation and internal quotation marks omitted)).

               20               Third, even if clicks and impressions were “post-purchase benefits” as Plaintiffs claim

               21      (they are not), Plaintiffs cite no authority barring their consideration to damages—all of Plaintiffs’

               22      case law concerns restitution, which is no longer relevant given the Court’s dismissal of Plaintiffs’

               23      UCL claim for restitution. Dkt. 366 at 1-2. For example, Plaintiffs rely heavily on the Ninth

               24      Circuit’s decision in Pulaski & Middleman, LLC v. Google, Inc., 802 F.3d 979 (9th Cir. 2015), but

               25      Pulaski was limited to restitution under the UCL and FAL.9 Courts have distinguished Pulaski on

               26      that basis, found its holding to be “confined to situations in which a plaintiff seeks (1) restitution
               27      9
                        Plaintiffs’ two other cases, Colgan v. Leatherman Tool Group, Inc., 135 Cal. App. 4th 663 (2006),
               28      and Kwikset Corp. v. Superior Court, 51 Cal. 4th 310 (2011), are equally inapposite for the same
                       reason as both involved restitution under the UCL and FAL.
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                   1   under (2) California’s UCL or FAL,” and rejected similar arguments about post-purchase events

                   2   in common law fraud claims. In re Myford Touch Consumer Litig., 2016 WL 7734558, at *18

                   3   (N.D. Cal. Sept. 14, 2016) (“Plaintiffs misrepresent Pulaski’s holding as applying to ‘all damages’

                   4   when in fact it only discusses restitution.”); Shahinian v. Kimberly-Clark Corp., 2017 WL

                   5   11595343, at *13 (C.D. Cal. Mar. 7, 2017) (explaining that Pulaski is “limited” to situations where

                   6   a plaintiff seeks restitution under the UCL or FAL).

                   7          C.      Tucker Is Qualified To Opine On The Auction Simulation’s Flaws
                   8          Plaintiffs also seek to prevent Tucker from opining on flaws in Roughgarden’s auction

                   9   simulation. Plaintiffs’ sole argument is that Tucker is not qualified to opine on Roughgarden’s

               10      auction simulation because she allegedly has no background in how an auction system actually

               11      works.10 Mot. at 1. But Tucker is not opining on how Meta’s auction system actually works. Her

               12      “critique” of Roughgarden’s auction simulation is that it is based on unrealistic assumptions of

               13      how digital advertising actually works. Plaintiffs nowhere challenge Tucker’s qualifications in

               14      digital advertising, and their Motion should be denied on this ground as well.

               15             Plaintiffs go to great lengths to avoid stating the opinion they claim Tucker is unqualified

               16      to give. But as even Plaintiffs concede, see Mot. at 7-8 & n.4, Tucker need only “have expertise

               17      in the matters on which [s]he will opine in this case[.]” Wolf v. Hewlett Packard Co., 2016 WL

               18      7743692, at *6 (C.D. Cal. Sept. 1, 2016); see also Pooshs v. Phillip Morris USA, Inc., 287 F.R.D.

               19      543, 553 (N.D. Cal. Dec. 5, 2012) (public health expert qualified to testify on “advertising and

               20      marketing in the area of public health” despite not being “expert in the total universe of commercial

               21      marketing and advertising”); S.F. Baykeeper v. City of Sunnyvale, 2022 WL 298564, at *2 (N.D.

               22      Cal. Feb. 1, 2022) (storm water management expert qualified to testify on economic feasibility of

               23      water quality standards despite not being an economist).

               24             Tucker’s opinion is that Roughgarden’s auction simulation is based on unsupported

               25      assumptions about Meta advertising—specifically, the number of advertisers that would have been

               26      affected by changes in Potential Reach, key differences across advertisers, such as their objectives,
               27

               28
                       10
                         Plaintiffs do not argue that Tucker’s testimony about Roughgarden’s auction simulation falls
                       short of any other requirements of Rule 702.
                                                                                                META’S OPP. TO PLAINTIFFS’
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                   1   bid constraints, and targeting criteria, and differences in simulated ad prices versus real world

                   2   prices. See supra Section Error! Reference source not found.. Each opinion is rooted in

                   3   Tucker’s expertise as an advertising expert and economist, qualifications Plaintiffs do not

                   4   challenge. And for good reason: Tucker is widely recognized as one of the leading experts on the

                   5   digital advertising industry, see supra Section Error! Reference source not found., and is more

                   6   than qualified to opine on assumptions about advertiser behavior and characteristics.

                   7          Unable to grapple with Tucker’s advertising qualifications, Plaintiffs raise a strawman:

                   8   Plaintiffs complain that Tucker does not teach “auction theory,” write auction code, or publish

                   9   research on “auction simulations.” Mot. at 8. Not only do Plaintiffs ignore the fact that Meta

               10      proffers a separate expert (Dr. Steven Tadelis) to opine on the mechanics of Meta’s ad auction,

               11      and that their own expert (Roughgarden) never reviewed Meta’s auction source code (or even

               12      auction bid data), but these “qualifications” are not relevant or necessary to Tucker’s opinion that

               13      Roughgarden’s simulation is based on unrealistic assumptions about advertisers which lead to

               14      unreliable results. In any event, Tucker did not design an auction simulation and her opinions

               15      about advertisers and ad prices do not require “experience running auction simulations,” Mot. at

               16      2, they require knowledge about the advertising industry.

               17             Plaintiffs also invent a dispute about Tucker’s “familiarity with Facebook’s auction

               18      system,” Mot. at 8-9, but that only backfires.         For starters, on top of her extensive (and

               19      unchallenged) digital advertising expertise, Plaintiffs admit that Tucker has specific prior

               20      experience related to Meta’s ad auction, including published studies in which she analyzed “the

               21      inputs and outputs of the auction system.” Id. at 8. Plaintiffs complain that Tucker did not examine

               22      “the inner workings” of Meta’s auction (whatever that means) in those publications, id. at 9, but

               23      her opinions about Roughgarden’s faulty assumptions are based on her expertise as an advertising

               24      expert and economist—she does not opine on the “inner workings” of Meta’s auction, and Tucker

               25      does not even cite her prior publication in her report. Moreover, even assuming Plaintiffs’ critiques

               26      were valid (they are not), they merely go to weight, not admissibility. See In re Pacific Fertility
               27      Center Litig., 2021 WL 842739, at *3 (N.D. Cal. Mar. 5, 2021) (“whether an expert is the best

               28      qualified or has sufficient specialized knowledge is a matter of weight[.]”).
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                   1          D.      Tucker Is Qualified To Opine On Whether Allenby’s Conjoint Analysis
                                      Accurately Reflects Real-World Advertiser Decision-Making
                   2

                   3          Plaintiffs’ challenge to Tucker’s opinion regarding Allenby’s conjoint analysis is
                   4   remarkable: Plaintiffs argue that Tucker, a digital advertising expert who teaches MIT graduate
                   5   students how to conduct and use conjoint surveys, is not qualified to opine on whether Allenby’s
                   6   conjoint survey accurately reflects how advertisers set their ad budget in the real world.11 Not so.
                   7          First, Tucker’s opinions about flaws in Allenby’s conjoint survey are rooted in her
                   8   uncontested expertise as a digital advertising economist developed over more than fifteen years.
                   9   Tucker is more than qualified to analyze Allenby’s conjoint survey and to identify flaws that render
               10      it unreliable for assessing real-world advertiser behavior. And that is exactly what Tucker did: she
               11      opined that Allenby’s survey failed to accurately reflect the real world environment in which
               12      advertisers set their budgets, including because it ignored the fact that advertisers adjust their
               13      budgets while their ads run and omitted key factors that advertisers find important in setting their
               14      budget (such as return on investment). See supra Section Error! Reference source not found..
               15      Plaintiffs’ failure to challenge Tucker’s qualifications as a digital advertising economist is alone
               16      reason to deny their Motion.
               17             Second, in addition to her digital advertising expertise, Tucker is also qualified to opine on
               18      flaws in Allenby’s conjoint survey based on her experience conducting and analyzing conjoint
               19      analyses. She has conducted hundreds of conjoint surveys and taught conjoint survey technique
               20      and methodology at MIT for years. Tucker Rpt. at ¶ 109; Tucker Dep. at 77:7-88:24. Despite
               21      these credentials, Plaintiffs argue that she is not sufficiently qualified because “[n]o one has ever
               22      paid her to conduct a conjoint survey,” “she has never given any presentations at conferences” on
               23      conjoint analyses, and because she does not publish articles on conjoint surveys. Mot. at 9.12 But
               24      Rule 702 does not require that an expert have specific types of expertise (let alone that she be paid,
               25      publish, or present at research conferences), and these experiences say nothing about whether
               26
                       11
                          Plaintiffs do not argue that Tucker’s testimony about Allenby’s conjoint survey fails any of the
               27      other requirements of Rule 702.
               28
                       12
                          Plaintiffs’ argument is also misleading, as Tucker testified that she has received offers to conduct
                       conjoint surveys for paying clients but turned them down. Tucker Dep. at 78:8-10.
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                   1   Tucker has sufficient “knowledge, skill, experience, training, or education” to opine on conjoint

                   2   analyses (she does). Fed. R. Evid. 702; Ramirez v. ITW Food Equip. Grp., LLC, 686 F. App’x

                   3   435, 441 (9th Cir. 2017) (reversing exclusion of expert because the “lack of particularized expertise

                   4   goes to the weight accorded [her] testimony, not to the admissibility of her opinion”); Day v. Cnty.

                   5   of Contra Costa, 2008 WL 4858472, at *20 (N.D. Cal. Nov. 10, 2008) (rejecting argument that

                   6   expert was not qualified due to “lack of published books or other materials”). Plaintiffs argue that

                   7   Tucker is similar to the expert in Wolf v. Hewlett Packard, who had insufficient conjoint

                   8   qualifications, but Wolf is inapposite. 2016 WL 7743692. Unlike in Wolf, where the expert sought

                   9   to opine that a conjoint survey could be used to calculate damages, id. at *5, Tucker did not conduct

               10      her own conjoint survey—she identifies flaws in Allenby’s survey—and she has a background in

               11      conjoint surveys, has conducted conjoint surveys, and has an educational and professional

               12      background in survey design.

               13             Finally, Plaintiffs try to undermine Tucker’s experience in conjoint analysis. Even though

               14      Tucker teaches conjoint survey analysis to graduate students at one of the nation’s top universities,

               15      Plaintiffs claim that the courses she teaches at MIT are not sufficiently robust to qualify her as an

               16      expert. This argument, which misstates her testimony and is based on long-outdated lecture notes

               17      Plaintiffs dug up from 2010 and 2014,13 would turn Daubert and Rule 702 on its head—the

               18      question is whether Tucker, not her students, is qualified to opine on conjoint analysis. In any

               19      event, the robustness of her syllabi for classes taught a decade ago “can be properly addressed by

               20      [Plaintiffs] on cross-examination.” U.S. v. Finley, 301 F.3d 1000, 1014 (9th Cir. 2002) (“Any

               21      deficits in [an expert’s] qualifications beyond her professional training go to the weight of her

               22      testimony rather than to its admissibility.” (citation omitted)).

               23      V.     CONCLUSION

               24             For the foregoing reasons, Plaintiffs’ Motion should be denied in its entirety.

               25

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               28         As she testified, Tucker teaches how to execute and analyze conjoint surveys, and she helps
                       students design surveys. See Tucker Dep. at 81:4-86:7 (discussing material taught in each class).
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                   1   DATED: April 1, 2022              LATHAM & WATKINS LLP

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